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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

                   Plaintiffs,
                                                        Civ. No. 1:23-01615 (CKK)
       v.

XAVIER BECERRA, U.S. Secretary of Health &
Human Services, et al.

                   Defendants.


                        REPLY IN SUPPORT OF PLAINTIFFS’
                    MOTION TO GOVERN FURTHER PROCEEDINGS

       Tracking its earlier correspondence, the Government’s response (ECF 56) offers no reason

why this Court should not issue the order Plaintiffs requested, which would allow merits briefing

to proceed on the responsible schedule that the parties negotiated and this Court approved. The

Court should therefore issue that order.




Dated: October 24, 2023                     Respectfully submitted,

                                            /s/ Yaakov M. Roth
                                            Yaakov M. Roth (D.C. Bar 995090)
                                            Megan Lacy Owen (D.C. Bar 1007688)
                                            Brinton Lucas (D.C. Bar 1015185)
                                            John Henry Thompson (D.C. Bar 90013831)
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